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                        UNITED STATES DISTRICT COURT                        FIL,ED
                      SOUTHERN DISTRICT OF CALIFORNI


UNITED STATES OF AMERICA,                  CASE NO. llCR2773 auuTHERN
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                                                             J.I...~LERIl, u.s. D!;;'j"R'CT COURT
                                                                           DtSTRIC! Of C~

                       Plaintiff,
                                                                    ~        -        ~

                vs.                        JUDGMENT OF DISMISSAL
YESENIA GARCIA (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

~    the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense{s) as charged in the Indictment:

     21 U.S.C. 952 and 960 - Importation of Cocaine

     18 U.S.C. 2 - Aiding and Abetting

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.



DATED: \   ll~lll-
                                                      HUFF, U.S. District Judge
                                           UNITED STATES DISTRICT COURT
